                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 1 of 11 Page ID #:283




                                  1                               UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

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                                  5       Mobilize the Message LLC et al.,
                                  6                                                  Case No. 2:21-cv-05115-VAP-JPRx
                                                          Plaintiffs,
                                  7                       v.                         Order GRANTING Motion to Stay
                                  8       Rob Bonta,
                                                                                               (Dkt. 29)
                                  9                       Defendant.
                                 10
Central District of California
United States District Court




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                                 12         Before the Court is Plaintiffs’ Mobilize the Message, LLC, Moving
                                 13   Oxnard Forward, Inc., and Starr Coalition for Moving Oxnard Forward
                                 14   (“Plaintiffs”) Motion to Stay (“Motion”). (Dkt. 29).
                                 15
                                 16         After considering all the papers filed in support of, and in opposition
                                 17   to, the Motion, the Court deems this matter appropriate for resolution
                                 18   without a hearing pursuant to Local Rule 7-15. The Court GRANTS the
                                 19   Motion.
                                 20
                                 21                                 I. BACKGROUND
                                 22         The facts of this case were set forth at length in the Court’s August
                                 23   09, 2021 Order Denying Plaintiffs’ Motion for Preliminary Injunction. (Dkt.
                                 24   24). The Court provides only a brief synopsis here.
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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 2 of 11 Page ID #:284




                                  1         Plaintiffs filed this lawsuit against Defendant Rob Bonta, in his official
                                  2   capacity as Attorney General of California (“Defendant”), alleging that a
                                  3   California law pertaining to the classification of employees and independent
                                  4   contractors, Assembly Bill 5 (“AB 5”), violates the First Amendment right of
                                  5   free speech. AB 5 codifies the so-called “ABC Test” articulated in Dynamex
                                  6   Operations W v. Superior Court, 4 Cal. 5th 903, 916 (2018). The test
                                  7   consists of a three-pronged inquiry that determines whether a worker is
                                  8   classified as an employee or an independent contractor for certain
                                  9   purposes. Plaintiffs argue that AB 5 favors commercial speech over political
                                 10   speech because it exempts certain commercial workers from being
Central District of California
United States District Court




                                 11   classified as employees, while classifying signature gatherers and
                                 12   doorknockers for political campaigns as employees.
                                 13
                                 14         On June 24, 2021, Plaintiffs filed a Motion for Preliminary Injunction
                                 15   seeking to enjoin Defendant from applying the ABC Test to classify Plaintiffs’
                                 16   doorknockers and signature gatherers as employees. (Dkt. 9). The Court
                                 17   denied the Motion for Preliminary Injunction on August 09, 2021, (Dkt. 24),
                                 18   and Plaintiffs appealed to the Ninth Circuit Court of Appeals on August 10,
                                 19   2021. (Dkt. 25). Defendant filed a Motion to Dismiss on August 16, 2021.
                                 20   (Dkt. 28). Plaintiffs filed the instant Motion to Stay Case Pending Appeal on
                                 21   August 16, 2021, arguing that this case should be stayed pending the
                                 22   outcome of Plaintiffs’ appeal of this Court’s order denying a preliminary
                                 23   injunction.
                                 24
                                 25                            II.    LEGAL STANDARD
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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 3 of 11 Page ID #:285




                                  1         When a party files an interlocutory appeal from the denial of a motion
                                  2   for a preliminary injunction, a stay is “not a matter of right . . . .” Nken v.
                                  3   Holder, 556 U.S. 418, 433 (2009). The decision to grant a stay “is instead
                                  4   ‘an exercise of judicial discretion,’ and ‘[t]he propriety of its issue is
                                  5   dependent upon the circumstances of the particular case.’” Id. “The moving
                                  6   party has the burden of persuading the court that the circumstances of the
                                  7   case justify a stay.” Cesca Therapeutics Inc. v. SynGen Inc., No. 2:14-CV-
                                  8   2085-TLN (KJNx), 2017 WL 1174062, at *2 (E.D. Cal. Mar. 30, 2017).
                                  9
                                 10         District courts in this Circuit follow one of two standards when
Central District of California
United States District Court




                                 11   evaluating a motion to stay pending an interlocutory appeal: the Nken test or
                                 12   the Landis test. The Nken test prompts courts to consider “(1) whether the
                                 13   stay applicant has made a strong showing that he is likely to succeed on the
                                 14   merits; (2) whether the applicant will be irreparably injured absent a stay; (3)
                                 15   whether issuance of the stay will substantially injure the other parties
                                 16   interested in the proceeding; and (4) where the public interest lies.” Leiva-
                                 17   Perez v. Holder, 640 F.3d 962, 964 (9th Cir. 2011) (quoting Nken v. Holder,
                                 18   556 U.S. 418 (2009). The Landis test counsels courts to consider “the
                                 19   competing interests which will be affected by the granting or refusal to grant
                                 20   a stay,” including “the possible damage which may result from the granting
                                 21   of a stay, the hardship or inequity which a party may suffer in being required
                                 22   to go forward, and the orderly course of justice measured in terms of the
                                 23   simplifying or complicating of issues, proof, and questions of law which
                                 24   could be expected to result from a stay.” Lockyer v. Mirant Corp., 398 F.3d
                                 25   1098, 1110 (9th Cir. 2005).
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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 4 of 11 Page ID #:286




                                  1         Plaintiffs concede that the Ninth Circuit has not addressed which test
                                  2   applies for a motion to stay proceedings, but argue that the Landis test is
                                  3   more frequently used in this context and should apply here. (Motion, at 4).
                                  4   The Court agrees. Although some district courts continue to apply the Nken
                                  5   test, “Landis was decided specifically to guide courts deciding on whether to
                                  6   stay proceedings,” and it is the “growing consensus of the district courts in
                                  7   this Circuit” to apply Landis when evaluating a motion to stay proceedings.
                                  8   Hart v. Charter Commc'ns, Inc., No. SA CV 17-0556-DOC (RAOx), 2019 WL
                                  9   7940684, at *4 (C.D. Cal. Aug. 1, 2019).
                                 10
Central District of California
United States District Court




                                 11         Moreover, Defendant does not challenge Plaintiffs’ argument that
                                 12   Landis should govern the motion. Defendant instead argues that it is
                                 13   “irrelevant” whether “this Court concludes that the Landis or the Nken
                                 14   standard applies,” because “Plaintiffs cannot meet their burden under either
                                 15   standard . . . .” (Opp’n, at 5-6). The Court will therefore evaluate Plaintiffs’
                                 16   motion under the factors articulated in Landis.
                                 17
                                 18                                III.   DISCUSSION
                                 19     A. Ninth Circuit Dicta
                                 20         As a threshold matter, Defendant argues that it would contravene
                                 21   Ninth Circuit instruction for this Court to stay proceedings pending appeal of
                                 22   a preliminary injunction order. (Opp’n, at 8). Defendant cites to language
                                 23   from Ninth Circuit cases suggesting that granting a stay under these
                                 24   circumstances is strongly disfavored. See Opp’n at 8, citing Cal. v. Azar,
                                 25   911 F.3d 558, 583 (9th Cir. 2018) (“We have repeatedly admonished district
                                 26   courts not to delay trial preparation to await an interim ruling on a

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 5 of 11 Page ID #:287




                                  1   preliminary injunction.”); Melendres v. Arpaio, 695 F.3d 990, 1002-03 (9th
                                  2   Cir. 2012); Sports Form, Inc. v. United Press Intern., Inc., 686 F.2d 750, 753
                                  3   (9th Cir. 1982) (“[I]n many cases, appeal of district courts’ preliminary
                                  4   injunctions will result in unnecessary delay to the parties and inefficient use
                                  5   of judicial resources.”). Plaintiff responds that Defendant’s argument over-
                                  6   generalizes the Ninth Circuit’s position, and even if these warnings are
                                  7   informative, the Court must engage with the Landis factors before
                                  8   summarily denying the motion. See Reply, at 4.
                                  9
                                 10          A review of decisions in this district demonstrates that courts do not
Central District of California
United States District Court




                                 11   interpret the Ninth Circuit’s warnings as prohibitively as Defendant suggests.
                                 12   There are numerous examples of courts granting a motion to stay proceed-
                                 13   ings pending the appeal of an order granting or denying a preliminary in-
                                 14   junction. See, e.g., STM Inv. S.a.r.l. v. 3P Equity Partners, LLC, No. 19-
                                 15   1764-CBM (ASx), 2019 WL 9518077, at *3 (C.D. Cal. June 24, 2019) (grant-
                                 16   ing an application to stay proceedings pending the Ninth Circuit’s resolution
                                 17   of plaintiff’s appeal of the preliminary injunction); Commodity Futures Trad-
                                 18   ing Comm'n v. Bame, No. CV-08-05593-RGK (PLAx), 2009 WL 10676150,
                                 19   at *3 (C.D. Cal. Mar. 6, 2009) (same). Moreover, while the Court may take
                                 20   the Ninth Circuit’s admonition against granting a stay as cautionary, there is
                                 21   no “blanket rule” prohibiting consideration of the motion. See Fraihat v. U.S.
                                 22   Immigr. & Customs Enf't, No. EDCV 19-1546-JGB (SHKx), 2020 WL
                                 23   6540441, at *3 (C.D. Cal. Oct. 30, 2020) (noting that the court would con-
                                 24   sider the Ninth Circuit’s warnings against delaying trial preparation to await
                                 25   an interim ruling, but Defendants were “correct that there is no such blanket
                                 26   rule” in the Ninth Circuit).

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 6 of 11 Page ID #:288




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                                  2         The Court agrees with Plaintiffs that it must apply the Landis test to
                                  3   decide the Motion. The Ninth Circuit’s admonitions, while instructive, do not
                                  4   prohibit the court from issuing a stay.
                                  5
                                  6    B. Landis Factors
                                  7         Plaintiffs advance arguments as to all of the Landis factors: “the
                                  8   possible damage which may result from the granting of a stay, the hardship
                                  9   or inequity which a party may suffer in being required to go forward, and the
                                 10   orderly course of justice measured in terms of the simplifying or
Central District of California
United States District Court




                                 11   complicating of issues, proof, and questions of law which could be expected
                                 12   to result from a stay.” Lockyer, 398 F.3d at 1110. The Court addresses each
                                 13   argument in turn.
                                 14
                                 15      1. Possibility of Damage
                                 16         Plaintiffs argue that no possible damage could accrue from a stay
                                 17   because no injunction was issued in this case, and the “status quo will
                                 18   remain as it stood the day before Plaintiffs brought their lawsuit.” (Motion, at
                                 19   6). Defendant does not respond to this argument in his Opposition.
                                 20
                                 21         The Court agrees that no harm would result from a stay of these
                                 22   proceedings. Defendant has no need for an immediate resolution of the
                                 23   case, especially because he is not enjoined from continuing to enforce AB 5
                                 24   while the appeal is pending. Moreover, Defendant himself has not asserted
                                 25   that he would suffer damage if a stay were granted. The lack of potential
                                 26   damage to Defendant stands in stark contrast to the potential consequences

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 7 of 11 Page ID #:289




                                  1   to parties in other cases where a stay was denied. See Dependable
                                  2   Highway Exp., Inc. v. Navigators Ins. Co., 498 F.3d 1059, 1066 (9th Cir.
                                  3   2007) (finding a “fair possibility” of damage in granting a stay that would
                                  4   have forced a company to enter into arbitration in a foreign country). The
                                  5   Court therefore agrees with Plaintiffs that the lack of possible damage
                                  6   weighs heavily in favor of granting a stay. See, e.g., Physicians
                                  7   Healthsource Inc. v. Masimo Corp., No. SACV 14-00001-JVS (ANx), 2014
                                  8   WL 12577142, at *2 (C.D. Cal. May 22, 2014) (determining that there would
                                  9   be little possibility of damage from granting a stay).
                                 10
Central District of California
United States District Court




                                 11       2.     Hardship or Inequity from Denial of a Stay
                                 12            Next, Plaintiffs argue they would be injured by the denial of this
                                 13   Motion because it would frustrate their potential to obtain relief in time for
                                 14   the 2022 election. (Motion, at 6). They contend that the Ninth Circuit could
                                 15   grant their pending appeal in time to allow them to engage in activities for
                                 16   the 2022 election, but if this Court denies the stay and ultimately dismisses
                                 17   the case, the pending appeal would become moot. (Id.). Plaintiffs would
                                 18   then have to appeal again from “square one,” which would push the timeline
                                 19   for appellate review beyond the 2022 election. (Id.). Plaintiffs also allege
                                 20   that intervening mootness harms both parties “in terms of duplication of
                                 21   effort on appeal.” (Id. at 7).
                                 22
                                 23            Defendant responds that any prejudice Plaintiffs might suffer is
                                 24   attributable to their own delay in filing suit. See Opp’n. Defendant points
                                 25   out that AB 5 was enacted in September 2019, and yet “Plaintiffs did not file
                                 26   suit until two months ago.” (Opp’n, at 1). Defendant also argues that any

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 8 of 11 Page ID #:290




                                  1   concern about inefficient litigation stems from Plaintiffs’ own decision to seek
                                  2   interlocutory review. (Id. at 3-4).
                                  3
                                  4         The Ninth Circuit has determined that simply “being required to
                                  5   defend a suit does not constitute a ‘clear case of hardship or inequity’ within
                                  6   the meaning of Landis.” Lockyer, 398 F.3d at 1112; Fed. Trade Comm'n v.
                                  7   Cardiff, No. EDCV 18-2104-DMG (PLAx), 2020 WL 5417125, at *4 (C.D.
                                  8   Cal. Sept. 9, 2020) (citing Lockyer, 398 F.3d at 1112). Plaintiffs therefore
                                  9   cannot point to the ordinary burdens of the litigation process, which they
                                 10   have undertaken themselves, as evidence of hardship or inequity.
Central District of California
United States District Court




                                 11
                                 12         Nonetheless, Plaintiffs raise a valid argument concerning the
                                 13   timeliness of obtaining relief. Absent a stay, Plaintiffs would likely be unable
                                 14   to obtain appellate review in time to perform activities for the 2022 election,
                                 15   which is a primary purpose of their organizations’ work.
                                 16
                                 17         The Court emphasizes that it weighs Plaintiffs’ claim of undue
                                 18   hardship against the possibility of damage to Defendant. See CMAX, Inc. v.
                                 19   Hall, 300 F.2d 265, 268 (9th Cir. 1962) (“Where it is proposed that a pending
                                 20   proceeding be stayed, the competing interests which will be affected by the
                                 21   granting or refusal to grant a stay must be weighed.”) Had Defendant
                                 22   argued that it would suffer damage from the imposition of a stay, Plaintiffs
                                 23   would have a more difficult road to establishing undue hardship. Lockyer,
                                 24   398 F.3d at 1112 (quoting Landis, 299 U.S. at 255) (“’[I]f there is even a fair
                                 25   possibility that the stay ... will work damage to some one else,’ the party
                                 26   seeking the stay ‘must make out a clear case of hardship or inequity.’”).

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 9 of 11 Page ID #:291




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                                  2           Where, as here, Defendant has asserted no possibility of damage to
                                  3   himself, it appears that Plaintiffs’ concerns about the timeliness of appellate
                                  4   review merit consideration. See Physicians Healthsource Inc., 2014 WL
                                  5   12577142, at *2 (weighing the possibility of damage to Plaintiff against the
                                  6   hardship to Defendant). The Court therefore finds that Plaintiffs have
                                  7   demonstrated a showing of undue hardship if the stay is denied.
                                  8
                                  9      3.     Judicial Efficiency
                                 10           The final factor that Plaintiffs discuss is judicial efficiency. They argue
Central District of California
United States District Court




                                 11   that the pending case American Society of Journalists and Authors v. Bonta,
                                 12   Ninth Cir. No. 20-55734 (“ASJA”), will likely address overlapping issues of
                                 13   law that may prove instructive to this Court. (Motion, at 1). Plaintiffs also
                                 14   argue that the Ninth Circuit’s review of the interlocutory appeal will “bear on
                                 15   the underlying issues of this case,” if the ASJA appeal does not do so first.
                                 16   According to Plaintiffs, this Court would advance the orderly cause of justice
                                 17   by granting a stay.
                                 18
                                 19           Defendant responds that the ASJA case might not be decided in the
                                 20   near future and might not affect the legal issues in this case. (Opp’n, at 1).
                                 21   Defendant also returns to the Ninth Circuit’s warnings to argue that judicial
                                 22   efficiency is not compromised by failing to grant a stay while an interlocutory
                                 23   appeal is pending.
                                 24
                                 25           As to the potential preclusive effect of other proceedings, this Court
                                 26   previously held that “staying [an] action based on a possibility of a

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 10 of 11 Page ID #:292




                                  1   preclusive decision elsewhere is not enough to demonstrate that those other
                                  2   proceedings “bear upon the case.” Tesoro Ref. & Mktg. Co. LLC v. City of
                                  3   Long Beach, No. 2:16-CV-06963-VAP (FFMx), 2019 WL 4422666, at *2
                                  4   (C.D. Cal. May 31, 2019); Leyva, 593 F.2d at 863-64. Moreover, Landis
                                  5   itself dictates that “[o]nly in rare circumstances will a litigant in one cause be
                                  6   compelled to stand aside while a litigant in another settles the rule of law
                                  7   that will define the rights of both.” Landis, 299 U.S. at 255; see also Fed.
                                  8   Trade Comm'n v. Cardiff, 2020 WL 5417125, at *3 (declining to stay an
                                  9   action pending an upcoming U.S. Supreme Court decision that would not
                                 10   directly affect the present case).
Central District of California
United States District Court




                                 11
                                 12         Here, Plaintiffs have not met the high burden of proving that the pen-
                                 13   dency of ASJA merits a stay in this action. Plaintiffs acknowledge that
                                 14   “there is no guarantee that the Ninth Circuit’s forthcoming decision in ASJA
                                 15   would control or even be instructive in this case,” but surmise that “the odds
                                 16   of that occurring are meaningful.” (Motion, at 1). The Court does not find
                                 17   that the mere potential of an instructive decision warrants a stay.
                                 18
                                 19         On the other hand, the Court agrees with Plaintiffs that awaiting the
                                 20   resolution of the Ninth Circuit’s review of the interlocutory appeal advances
                                 21   the orderly cause of justice. The order that is before the Court of Appeals
                                 22   implicates issues that are at the heart of this case. In the August 9, 2021
                                 23   Order, the Court concluded that Plaintiffs had not shown they were likely to
                                 24   succeed on the merits. (Dkt. 24). The Court also determined that the chal-
                                 25   lenged exemptions in AB 5 were neither content-based nor required height-
                                 26   ened scrutiny. (Id. at 7). These issues bear on the heart of Plaintiffs’ First

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                                 Case 2:21-cv-05115-VAP-JPR Document 37 Filed 09/17/21 Page 11 of 11 Page ID #:293




                                  1   Amendment claims, and the Ninth Circuit’s review of those issues would al-
                                  2   most certainly affect the outcome of any proceedings in this Court.
                                  3
                                  4         The Court agrees with Plaintiffs’ observation that “this is not a case
                                  5   where the ‘disposition of th[e] appeal will affect the rights of the parties only
                                  6   until the district court renders judgment on the merits of the case.’” (Reply
                                  7   at 33, citing Sports Form, Inc. v. United Press International, Inc., 686 F.2d
                                  8   750, 753 (9th Cir. 1982). It would be wise for the Court to preserve its
                                  9   judicial resources in light of the pending appellate review of issues central to
                                 10   this case.
Central District of California
United States District Court




                                 11
                                 12         Taking all the Landis factors together, and considering the various
                                 13   arguments advanced by Plaintiffs and Defendant in the pleadings, the Court
                                 14   concludes that a stay of the proceedings is warranted. The proceedings are
                                 15   stayed pending the resolution of Plaintiffs’ interlocutory appeal before the
                                 16   Ninth Circuit.
                                 17
                                 18                                IV.    CONCLUSION
                                 19         The Court therefore GRANTS the Motion to Stay pending the
                                 20   outcome of Plaintiffs’ interlocutory appeal.
                                 21
                                 22   IT IS SO ORDERED.
                                 23
                                 24       Dated:       9/17/21
                                 25                                                         Virginia A. Phillips
                                                                                       United States District Judge
                                 26

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